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                          Court of
                           of ^Marplanii
                                ^nnanjoltsf,




               CERTIFICATE OF GOOD STANDING

STATE OF MARYLAND, ss:
      I, Suzanne Johnson, Clerk of the Court ofAppeals ofMaryland,
do hereby certify that on the seventeenth day ofDecember, 2014,

                       BrcnriA Danielle Mclinson

having first taken and subscribed the oath prescribed by the Constitution and
Laws of this State, was admitted as an attorney of said Court, is now in good
standing, and as such is entitled to practice law in any of the Courts of said
State, subject to the Rules of Court.

                                           tKcaStfmonp            I have hereunto
                                        set my hand as Clerk, and affixed the Seal
                                        of the Court ofAppeals ofMaryland, this
                                        twentieth day ofDecember, 2021.




                                               Clerk of the Court ofAppeals ofMaryland
